          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
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                         No. 1D2022-3719
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REGGIE DESHAWN LEWIS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
Jennie Kinsey, Judge.


                          August 21, 2024

PER CURIAM.

     Reggie Deshawn Lewis was convicted after a jury trial of
third-degree murder and sentenced to 12 years in prison. On
appeal, he raises two issues. As to the challenge to the denial of his
motion for judgment of acquittal, we affirm without further
discussion. As to his argument that the trial court failed to
properly address his request for a downward departure sentence,
we dismiss pursuant to Wilson v. State, 306 So. 3d 1267 (Fla. 1st
DCA 2020), rev. granted, No. SC20-1870, 2021 WL 1157838 (Fla.
Mar. 26, 2021).

    AFFIRMED in part; DISMISSED in part.

B.L. THOMAS, RAY, and KELSEY, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Kathleen Pafford, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Virginia Chester Harris,
Assistant Attorney General, Tallahassee, for Appellee.




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